                                    Exhibit 6B
     Objectors’ Designations From August 29, 2013 Deposition of Kenneth Buckfire




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  Designation:
    9: 2    Q.      Mr. Buckfire, would you please state your name and
       3            business address for the record?
       4    A.      Kenneth Buckfire. 601 Lexington Avenue, New York, New
       5            York.


  Designation:
   11:14    Q.      Mr. Buckfire, what is your position with Miller
      15            Buckfire?
      16    A.      Co-founder and co-president of Miller
      17            Buckfire & Company.
      18    Q.      Miller Buckfire currently is employed as the financial
      19            advisor to the City of Detroit, correct?
      20    A.      As the investment banker to the City, that's correct.


  Designation:
   19:22    Q.      Now, is it fair to say that you have principal
      23            responsibility for the engagement of the City and the
      24            work that's being performed by the members of your
      25            team?
   20: 1    A.      Yes.
       2    Q.      And so all the individuals we just discussed report
       3            directly to you, is that correct?
       4    A.      Yes.


  Designation:
   21:11                       MR. SUMMERS: If we could mark this as
      12            Deposition Exhibit 2, please.


  Designation:
   21:17    Q.      Mr. Buckfire, do you recognize this document?
      18    A.      I do.
      19    Q.      And it is the forbearance and optional termination
      20            agreement that was executed by Mr. Orr among others on
      21            or about July 15th, 2013, is that correct?
      22    A.      Yes.
      23    Q.      And this is the agreement that's the subject of the
      24            pending motion in the bankruptcy court which brings us
      25            here today, correct?
   22: 1    A.      Yes.
       2    Q.      Okay. And was the City's decision to enter into the
       3            forbearance agreement made by Mr. Orr?
       4    A.      Yes, it was.


  Designation:
   22:13    Q.      What role did you have in the negotiation of the
      14            forbearance agreement?
      15    A.      On behalf of the City of Detroit I had responsibility
      16            for negotiating the business terms of this agreement.




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  Designation:
   34: 8    Q.    Is it fair -- let's draw down in detail a little bit
       9          on the June 8th meeting. Who was -- what individuals
      10          were present at the June 8th meeting?
      11    A.    It was the same attendees as at the June 4th meeting
      12          except that Mr. Saxton and Mr. Martin did not attend.
      13    Q.    Were the service corporations present at the June 8th
      14          meeting?
      15    A.    Not to my recollection.
      16    Q.    Were the service corporations present at the June 4th
      17          meeting?
      18    A.    No.
      19    Q.    What point was information about the proposed
      20          forbearance agreement communicated to the service
      21          corporations?
      22    A.    I don't know.
      23    Q.    Do you know who was communicating with the service
      24          corporations?
      25    A.    No.
   35: 1    Q.    Was anybody communicating with the service
       2          corporations?
       3    A.    I don't know.
       4    Q.    Did Mr. Orr know?


  Designation:
   35: 6    A.    I don't know.


  Designation:
   35: 8    Q.    But you never spoke with a representative of a service
       9          corporation about the forbearance agreement?


  Designation:
   35:11    A.    I already testified to that.


  Designation:
   35:25    Q.    Did the Swap counterparties ever say to the City that
   36: 1          if a resolution is not reached by a certain date, they
       2          will terminate?
       3    A.    Not to my knowledge.
       4    Q.    And you said that the first defaults occurred in your
       5          view in March 2012, is that correct?
       6    A.    There was a credit rating downgrade which triggered
       7          termination event under the collateral agreement which
       8          had not been cured, and then after that the City
       9          emergency manager was appointed, that in itself was an
      10          event of default under the agreement. So, we had
      11          several defaults.




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  Designation:
   40: 2    Q.    Mr. Buckfire, the forbearance agreement in the City's
       3          view allows the City to direct the termination of the
       4          Swap agreements, is that correct?
       8    A.    Well, we negotiated for the right to do so if we can
       9          deliver the Swap termination payment.
      10    Q.    Is that a right that the City currently possesses
      11          under any other agreement?
      12    A.    This is the only agreement of which I'm aware.
      13    Q.    And it is the City's view that under the forbearance
      14          agreement the City is able to direct the termination
      15          of the Swap agreements without the consent of any
      16          other party, is that correct?
      21    A.    Can you repeat your question?
      22    Q.    Sure. Under the forbearance agreement the City is
      23          able to direct the termination of the Swap agreements
      24          without the consent of any other party, is that
      25          correct?


  Designation:
   41: 3    A.    I don't know what I'm supposed to answer to. It's our
       4          view that this is an agreement the City can perform it
       5          has rights under.


  Designation:
   44: 6    Q.    This document has been marked as Exhibit Number 3 is
       7          the proposal to creditors, executive summary of the
       8          proposal to creditors that was made on June 14th,
       9          2013, is that correct?
      10    A.    Yes.
      11    Q.    And this was prepared in connection with a meeting
      12          with creditors that was held at the Detroit Airport
      13          Westin on June 14th, 2013, is that correct?
      14    A.    That's correct.
      15    Q.    And did you participate in creating this executive
      16          summary?
      17    A.    I did.
      18    Q.    And you participated in the information that is --
      19          gathering the information that is disclosed in this
      20          executive summary, is that right?
      21    A.    Well, I reviewed drafts of it to make sure that it
      22          made sense, that it was consistent, that it was
      23          accurate, but I did not prepare the information
      24          myself.
      25    Q.    You prepared -- leave it there. You're familiar with
   45: 1          the contents of this document, correct?
       2    A.    Yes.
       3    Q.    If you turn to Page 35. And Page 35 contains a
       4          summary of the current financial status of the City as
       5          of June 14th, 2013, is that correct?
       6    A.    No, actually this is just one way of looking at it.
       7          Page 8 and 9 are actually more relevant for the
       8          discussion we've been having today.
       9    Q.    If you stay with -- what then do you think is


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      10            contained on Page 35?
      11       A.   This is a review of the City's reported historical
      12            financials.
      13       Q.   If you look at the column at the very far right side
      14            of the page it says prelim 2013. Do you know what
      15            that column contains?
      16       A.   It contains a preliminary estimate of revenues,
      17            operating expenses and legacy expenses for 2013.
      18       Q.   And if you look down here line labeled total revenues
      19            which indicates 1.121.9 billion dollars, is that
      20            correct?
      21       A.   Yes.
      22       Q.   And that is the total revenue that was projected as of
      23            the date this executive summary was prepared for 2013?
      24       A.   Yes.
      25       Q.   Now, if you go down the next subsection of Page 35 is
   46: 1            labeled operating expenditures, correct?
       2       A.   Yes.
       3       Q.   And operating expenditures preliminary 2013 column
       4            indicates 692 million dollars, correct?
       5       A.   Yes.
       6       Q.   Now -- and the operating expenditures include --
       7            included in this section include the essential
       8            services that the City has to provide, is that
       9            correct?
      10       A.   Yes.
      11       Q.   And then when you get to the legacy expenditures, is
      12            it correct that the City is not currently making debt
      13            payment, debt service payments to general obligation
      14            bonds, is that correct?
      15       A.   Yes.
      16       Q.   And the City is not -- is currently deferring payments
      17            for retiree health benefits, isn't that correct?
      18       A.   Yes.
      19       Q.   So, without making service or making payments on the
      20            legacy expenditures for 2013, is it correct to say
      21            that the City would have operated at a surplus for
      22            fiscal year 2013?
      23       A.   Well, clearly if we're not making our fixed
      24            obligations, we'd have more cash than if we did.
      25       Q.   And are you currently making payments on any of the
   47: 1            items that are categorized under the legacy
       2            expenditures part of Page 35?
       3       A.   Yes.
       4       Q.   What portions are you making?
       5       A.   Well, we're making payments on the POC Swaps because
       6            they are a secured obligation. I'm not sure looking
       7            at this whether the 141 million of debt service for
       8            LTGO and UTGO incorporates payments made on the
       9            secured state revenue share bonds which we have three
      10            series. I have to go back and check, but clearly the
      11            City is paying its obligations on secured, that is,
      12            revenue protected debt and not paying on unsecured
      13            debt.
      14       Q.   And the City is not at this point making its pension
      15            contributions, correct?


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      16       A.   Correct.
      17       Q.   The City at this point is not paying the health
      18            benefits for retirees, correct?
      19       A.   Yes, that's correct.
      20       Q.   And the City is not making principal interest payments
      21            to the service corporations, correct?
      22       A.   That's correct.
      23       Q.   Then turn to Page 38 of the executive summary. In
      24            this document among other things or this page among
      25            other things contains a preliminary forecast for
   48: 1            fiscal -- for the City for fiscal year 2014, is that
       2            correct?
       3       A.   Yes.
       4       Q.   And you see the column that's labeled 2014?
       5       A.   I do.
       6       Q.   The column labeled for 2014 indicates the total
       7            revenues for the City for 2014 are projected to be 1
       8            billion 108 -- so, it's 1 billion 82 million point 8,
       9            is that correct?
      10       A.   Yes, a decline from 2013.
      11       Q.   And expenditures, the expenditures column indicates
      12            that expenditures that the City will incur for
      13            essential services will total 397.2 million dollars
      14            for 2014, is that correct?
      15       A.   That's the projected net operating surplus, correct.
      16       Q.   Yeah, I'm sorry, it's 685.7 million in expenditures
      17            for fiscal year 2014, correct?
      18       A.   Yes.
      19       Q.   And that results in a surplus of 397.2 million
      20            dollars, correct?
      21       A.   Before debt service.
      22       Q.   Before debt service. But you're not making -- the
      23            City is not making a significant portion of the debt
      24            service, correct, in 2014?
      25       A.   That's correct.
   49: 1       Q.   So, for example, the City does not actually project
       2            paying pension -- making pension contributions for
       3            fiscal year 2014, isn't that true?
       7       A.   That's correct.
       8       Q.   And the City does not currently plan to pay the health
       9            benefits for retirees in fiscal year 2014, correct?
      13       A.   Can you repeat the question, please?
      14       Q.   The City does not currently intend to pay the line
      15            item for health benefits for retirees in fiscal year
      16            2014?
      17       A.   That's correct.


  Designation:
   53:15    Q.      So, do you believe that the City would be out of cash
      16            without access to the casino revenues?
      19    Q.      As of December 2013?
      20    A.      If nothing else was done, yes.




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  Designation:
   54: 5    Q.    Now, you've previously discussed the Swap
       6          counterparties entered the negotiations with the view
       7          that events of default had occurred under the Swap
       8          contracts, correct?
       9    A.    It was a fact.
      10    Q.    And so the City had the same view that there were
      11          events of default that had occurred under the Swap
      12          contracts prior to the bankruptcy?
      13    A.    It wasn't a view, it was a fact. We had at least two
      14          defaults.
      15    Q.    And can you tell us what the two defaults were?
      16    A.    The ratings downgrade default which had occurred in
      17          2012 and the appointment of the emergency manager in I
      18          believe it was March of 2013.
      19    Q.    And were there any other defaults other than those two
      20          in the City's view?
      22    A.    There may well have been but those are the two that I
      23          recollect.


  Designation:
   55:15    Q.    To your knowledge had the Swap counterparties ever
      16          threatened to bring litigation claims against the
      17          City?
      18    A.    No.
      19    Q.    Has the City considered whether the Swap
      20          counterparties have claims against the City other than
      21          those arising out of the defaults under the Swap
      22          agreements?
      24    A.    I don't know.
   56: 1    Q.    Has the City evaluated whether it is in breach of the
       2          collateral agreement?
      10    Q.    In your view have you engaged in any analysis of
      11          whether the City has breached the collateral
      12          agreement?
      13    A.    No.
      14    Q.    To your knowledge has anyone else associated with the
      15          City analyzed whether the City is in breach of the
      16          collateral agreement?
      17    A.    I don't know.
      22    Q.    Have the service corporations ever threatened to your
      23          knowledge claims against the City?
   57: 1    A.    I don't know.
       3    Q.    Have you ever analyzed whether these service
       4          corporations may have claims against the City?
       5    A.    No.
       6    Q.    Have you analyzed whether or evaluated -- strike that.
       7          Let me start again.
       8                     Have you evaluated whether the City has
       9          claims against the Swap counterparties?
      12    Q.    Has Miller Buckfire evaluated whether the City has
      13          claims against the Swap counterparties?
      14    A.    No.
      15    Q.    Has anyone else working for the City analyzed whether
      16          the City has claims against the Swap counterparties?


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      18       A.   No.
      20       Q.   No, you don't know --
      21       A.   I don't know.
      22       Q.   So, Miller Buckfire performed no investigation into
      23            whether the City has claims against the Swap
      24            counterparties in connection with this forbearance
      25            agreement, correct?
   58: 2       A.   No.


  Designation:
   58:10    Q.      Do you have a view as to what claims the forbearance
      11            agreement releases?
      12    A.      No. The answer was no at end of the table. I'll
      13            speak up. I apologize.
      14    Q.      Does the forbearance agreement operate to release any
      15            claims that might be held against the City?
      17    A.      I don't know.


  Designation:
   58:19    Q.      Do you have an understanding of how interest rate
      20            movements may affect the termination payment that
      21            would become due under the Swap agreements?
      22    A.      Yes.


  Designation:
   58:25    Q.      And what is that understanding?
   59: 1    A.      Well, as interest rates come down, the Swap
       2            termination liability goes up.
       3    Q.      And if interest rates go up, what happens to the Swap
       4            termination liability?
       5    A.      Comes down.
       6    Q.      And there would come a point if interest rates
       7            increased enough where the City could actually become
       8            in the money on the Swaps, is that correct?
       9    A.      It would except that the Swap counterparties in 2009
      10            negotiated for the right to terminate the Swaps so
      11            they would never actually be in a net liability
      12            position against the City if that were to occur.
      13    Q.      What is your basis for stating that the Swap
      14            counterparties negotiated the right to terminate the
      15            Swaps in 2009?
      16    A.      Well, I've already testified that I reviewed the
      17            collateral amendment entered into in 2009 and
      18            discussed it with counsel to the City. In their
      19            review of the contract, and I can't remember exactly
      20            the provision now but that was their interpretation of
      21            the contract right.
      22    Q.      Have you reviewed any of the other 2009 documents
      23            related to the Swaps?
      24    A.      No.
      25    Q.      Has the City undertaken any analysis to evaluate
   60: 1            future interest rate moves?
       2    A.      We have reviewed the forward LIBOR curve.


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       3       Q.   And who performed that review?
       4       A.   That review was performed by Mr. Sanjay Marken, one of
       5            our associates. M A R K E N, first name S A N J A Y.
       6       Q.   And when did he perform that review?
       7       A.   The most recent one was performed a few days ago.
       8       Q.   What did that review show?
       9       A.   It showed that the current forward LIBOR curve does
      10            not show that the interest rate that's relevant to
      11            this Swap would ever rise above six-and-three-quarters
      12            percent which is the fixed rate on the Swap, and,
      13            therefore, the market is telling us that the
      14            probability of the Swap ever going in the money for
      15            the benefit of the City is very low.
      16       Q.   Does the analysis address whether interest rates are
      17            generally rising or decreasing?
      18       A.   The LIBOR curve is an observable market fact. I'm not
      19            going to speculate on when rates are going up or down.
      20            They will fluctuate.
      21       Q.   Have interest rates increased since the forbearance
      22            agreement was executed?
      23       A.   Yes.
      24       Q.   And what effect has that increase on -- in interest
      25            rates had on the estimated termination payment under
   61: 1            the forbearance agreement?
       3       A.   Well, the assumption in June of this year when we
       4            began to negotiate with the Swap counterparties was
       5            the termination payment was around four hundred
       6            million dollars. The rise in rates since that time
       7            and it's now almost August probably has reduced that
       8            termination payment to around three hundred million
       9            dollars or even lower.
      10                       So, yes, the rise in rates has resulted in
      11            a reduction of the termination payment.
      12       Q.   And is that analysis of the reduction to the
      13            termination payment something that Miller Buckfire has
      14            prepared?
      16       A.   Well, there is a procedure embodied in the collateral
      17            agreement that lets you determine the termination
      18            payment if one is to occur. We've simply analyzed the
      19            net value of the assumed LIBOR payments and Swap
      20            payments and come up with our own estimate.
      22       Q.   And that analysis was performed by Mr. Marken?
      23       A.   That's right.


  Designation:
   63: 3    Q.      Mr. Buckfire, did Mr. Marken perform any analysis
       4            related to the interest rates' effect on the Swaps
       5            prior to the analysis he performed a few days ago?
       6    A.      No.


  Designation:
   63:19    Q.      Did you describe what claims you would litigate
      20            aggressively to the Swap counterparties?
      21    A.      No.


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       22      Q.   Did you make any assertions to the Swap counterparties
       23           concerning the validity of their liens at the June 4th
       24           meeting?
       25      A.   No.
    64: 1      Q.   Was the potential of the City challenging the liens
        2           held by the Swap counterparties ever a matter
        3           discussed during the negotiation of the forbearance
        4           agreement?


   Designation:
    64: 7    Q.     Discussed with the Swap counterparties.
        8    A.     Yes.
        9    Q.     When was that discussed?
       10    A.     It was a very hectic period. I did really almost
       11           nothing between June 4th and the 11th but try to
       12           negotiate this deal. I know at several points in my
       13           conversations with the business people I let them know
       14           that if there were issues with the collateral, we
       15           would raise them if necessary to protect the City.
       16    Q.     Did you articulate what those issues might be?
       17    A.     No.


   Designation:
    65: 8    Q.     So, you never performed an analysis of the merits of
        9           those claims?
       10    A.     No.


   Designation:
    65:19    Q.     Did you assert any arguments or potential litigation
       20           claims other than the issues surrounding the granting
       21           of the liens in your negotiations with the Swap
       22           counterparties?
       23    A.     No.
       24    Q.     Did you articulate to the Swap counterparties why in
       25           the City's view the liens may or may not be valid?
    66: 1    A.     Not directly, no.


   Designation:
    69: 7    Q.     You testified that as of the last analysis your
        8           understanding is the estimated amount of the
        9           termination payment that would be due is roughly three
       10           hundred million dollars, is that correct?
       11    A.     Well, it clearly moves around as the interest rate
       12           curve moves around. I think the most recent number is
       13           somewhere reaching 275 and 300 million dollars.
       14           That's before the application of the applicable
       15           discount that we had provided for in the termination
       16           agreement.
       17    Q.     And that last analysis, when was that performed?
       18    A.     A few days ago.




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   Designation:
    69:23    Q.   Does the City have a plan at this point for how it
       24         will obtain the cash necessary to pay the termination
       25         payment?


   Designation:
    70: 3    A.   Yes, the City has a plan.


   Designation:
    70: 5    Q.   And what is that plan?
        6    A.   The City intends to secure a debtor in possession
        7         financing of sufficient proceeds to fund the
        8         termination payment as well as provide sufficient cash
        9         for the City to execute on its reinvestment program
       10         during the bankruptcy.


   Designation:
    70:18    Q.   And is Miller Buckfire leading the effort to obtain
       19         debtor in possession financing?
       20    A.   Yes.


   Designation:
    71:16    Q.   And do you know who those ten entities are that have
       17         said they are not interested?
       18    A.   I do, yes.
       19    Q.   And who are they?
       20    A.   I'm not going to tell you that.
       21    Q.   On what basis?
       22    A.   It's commercially sensitive information.


   Designation:
    73:24    Q.   What covenants, if any, are included in the RFP as
       25         being acceptable or not acceptable?
    74: 1    A.   I'm not going to discuss that. It's commercially
        2         sensitive.


   Designation:
    74: 6    Q.   And is the City offering a lien on casino revenues in
        7         connection with the DIP financing?
        8    A.   In part.


   Designation:
    74:12    Q.   No doubt. What other collateral is the City offering
       13         to secure the DIP financing loan?
       14    A.   I'm not going to answer that question.




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   Designation:
    75: 2    Q.   Is the City offering art work as collateral?
        3    A.   I'm not going to discuss the terms of the term sheet,
        4         sorry.


   Designation:
    76:15    Q.   Has the City had discussions with the State of
       16         Michigan about providing financing?
       17    A.   I'm not going to discuss that.


   Designation:
    76:21                    Are there certain events that the City
       22         believes has to happen in the case for it to be able
       23         to realistically obtain debtor-in-possession
       24         financing?
       25    A.   Yes, there are events in the case.
    77: 1    Q.   And what is that deal?


   Designation:
    77: 4    A.   Well, we have to find a willing lender, that's number
        5         one. Number two, we have to have a court order
        6         approving the form of the DIP financing, and, number
        7         three, we believe we need to have approval of the
        8         forbearance and termination agreements we get the
        9         benefit of the elimination of the collateral pledge
       10         and the benefit of the discount.


   Designation:
    77:12    Q.   Do you need a determination on eligibility as well?
       13    A.   Probably as a condition to closing but not as a
       14         condition to getting a loan commitment.


   Designation:
    79:10    Q.   And if the City obtains a debtor-in-possession
       11         financing, what's the intended use of the financing?


   Designation:
    79:14    A.   I've already answered it.


   Designation:
    79:16    Q.   Why don't you go ahead, say it again.
       17    A.   We'll use proceeds to terminate the Swaps at the
       18         discount provided for in the forbearance agreement and
       19         the balance of the DIP loan will be retained by the
       20         City as working capital and to support its
       21         reinvestment program.
       22    Q.   Are there any other intended uses to the DIP financing
       23         other than the two you just said?



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       24      A.   Not that I'm aware of.


   Designation:
    85: 6    Q.     Go back to the negotiations that occurred in 2013.
        7           Did you invite Syncora to participate in those
        8           negotiations?
        9    A.     No.
       10    Q.     Why not?
       11    A.     They weren't a party to the collateral agreement.
       12    Q.     Did you consult with Mr. Orr as to whether Syncora
       13           should be invited to the negotiations?
       14    A.     No.
       15    Q.     Did you invite Financial Guaranty Insurance Company to
       16           participate in the negotiations concerning the
       17           forbearance agreement?
       18    A.     No.
       19    Q.     Did you consult with Mr. Orr with respect to the
       20           decision whether Financial Guaranty Insurance Company
       21           should be invited to those negotiations?
       22    A.     No.
       23    Q.     So, you made that decision -- how did you come to the
       24           decision not to invite -- we'll call it FGIC?
       25    A.     It never came up. They weren't a party to the
    86: 1           agreement.
        2    Q.     Did you invite US Bank to participate in the
        3           negotiations concerning the forbearance agreement?
        4    A.     No.
        5    Q.     Why not?
        6    A.     Not a party to the agreement.
        7    Q.     To the collateral agreement?
        8    A.     Correct.
        9    Q.     And to your knowledge no one else invited Syncora,
       10           FGIC or US Bank to participate in the negotiations on
       11           the forbearance agreement?
       12    A.     Correct.


   Designation:
    87:11    Q.     Did you ever advise Mr. Orr that you thought Syncora
       12           should be a party to the negotiations?
       13    A.     No.


   Designation:
    88:11    Q.     At any time during the negotiations in 2013 did the
       12           Swap counterparties send a notice of an event of
       13           default?
       14    A.     I don't recall if we ever received an official notice
       15           but we certainly were aware of the fact they could
       16           send one at any time.
       17    Q.     And at any time during the negotiations in 2013 did
       18           the Swap counterparties formally designate an early
       19           termination date?
       20    A.     No.



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   Designation:
    89: 3    Q.   Now, you've indicated there was I guess an agreement
        4         -- is it fair to say there was an agreement at least
        5         in principle on the terms of the forbearance agreement
        6         on or before June 11th, is that correct?
        8    A.   There was an economic understanding, yes.


   Designation:
    89:10    Q.   What happened after June 11th with respect to the
       11         negotiations?
       12    A.   Well, the attorneys for the City and for the Swap
       13         counterparties began to negotiate the forbearance
       14         agreement. I was not directly involved in that
       15         because it was primarily in fact solely with respect
       16         to the nonfinancial terms of it.
       17                    That took several weeks of very intensive
       18         work amongst the lawyers for all the parties to arrive
       19         at an agreement that could be executed which it turned
       20         out not before July 15th.
       21                    So, it took about a month to complete the
       22         negotiations for the agreement, so --
       23    Q.   Other than attorneys working to document I guess the
       24         legal terms -- well, document the whole thing, was
       25         there anything else that caused a month, approximately
    90: 1         a month to elapse between agreement on the financial
        2         terms and execution of the forbearance agreement?
        3    A.   No, it was a very, very active negotiation amongst the
        4         parties to the arrive at the final document.


   Designation:
    93: 8    Q.   To your knowledge at no point in 2012 did the Swap
        9         counterparties send a notice of an event of default to
       10         the City?
       13    A.   Not to my knowledge.


   Designation:
    94:17    Q.   You're familiar with the Detroit General Retirement
       18         System Service Corporation and the Detroit Police and
       19         Fire Retirement System Service Corporation?
       20    A.   I know they exist.
       21    Q.   Do you have an understanding -- just for the record
       22         I'll refer to them as the service corporations, do you
       23         have an understanding what the service corporations
       24         are?
       25    A.   Yes.
    95: 1    Q.   And what is that understanding?
        2    A.   They were created for the purpose of the City
        3         borrowing 1.4 billion dollars in 2005 and 2006 and
        4         making a contributions of the like amount to the
        5         pension funds.
        6    Q.   Do you understand the service corporations to be



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        7           controlled by the City?
        8      A.   Yes.
        9      Q.   And do you understand the service corporations to be
       10           controlled by the emergency manager?
       11      A.   I assume that's the case but I don't know for a fact.
       12      Q.   And the service corporations are in fact parties to
       13           the forbearance agreement, correct?
       14      A.   Yes, they are.
       15      Q.   Who acted on behalf of the service corporations in
       16           connection with the forbearance agreement?
       17      A.   The City did.
       18      Q.   And by the City can you identify the individuals that
       19           you are referring to when you say the City?
       20      A.   Mr. Orr.
       21      Q.   To your knowledge did any members of the Board of
       22           Directors of the service corporations consult with
       23           Mr. Orr about the forbearance agreement?
       24      A.   I don't know.
       25      Q.   Did Mr. Orr -- let's ask it the other way. Did
    96: 1           Mr. Orr consult with any members of the Board of
        2           Directors of the service corporations in connection
        3           with the forbearance agreement?
        4      A.   I don't know.
        5      Q.   Did anyone at Miller Buckfire have any contact with
        6           anyone, any -- any member of the Board of Directors of
        7           the service corporations in connection with the
        8           negotiations?
        9      A.   I don't think so.
       10      Q.   And do you know who presented the forbearance
       11           agreement to the service corporations for execution?
       12      A.   No.
       13      Q.   Would Mr. Orr know that?
       14      A.   I don't know.
       15      Q.   Do you know who would know that?
       16      A.   I don't know.
       17      Q.   The person who signed the forbearance agreement on
       18           behalf of the service corporations, a woman named
       19           Cheryl Johnson, is that correct?
       20      A.   Yes.
       21      Q.   Do you know Miss Johnson?
       22      A.   No.
       23      Q.   Do you know what position Miss Johnson holds, if any,
       24           on the service corporations?
       25      A.   Well, the signature page indicates that she's the
    97: 1           president.
        2      Q.   You've never spoken to Miss Johnson about the
        3           forbearance agreement?
        4      A.   No.
        5      Q.   Have you ever spoken with Portia Roberson about the
        6           forbearance agreement?
        7      A.   No.
        8      Q.   Do you know Miss Roberson?
        9      A.   No.
       10      Q.   Has anyone from Miller Buckfire ever spoken with
       11           Miss Roberson?
       12      A.   I don't know.


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       13      Q.   Are you aware that the insurers contend that the Swap
       14           agreements cannot be terminated without their consent?
       15      A.   Yes.
       16      Q.   And when did you first become aware of that
       17           contention?
       18      A.   Well, last week in court I heard Mr. Hackney describe
       19           those arguments to the judge.
       20      Q.   Have you taken any steps to evaluate whether the City
       21           agrees with the insurer's construction of the
       22           operative documents on this point?
       23      A.   No.


   Designation:
    98:25    Q.     Are you aware that the insurers contend they have the
    99: 1           right to control essentially all actions to be taken
        2           by the Swap counterparties in connection with the Swap
        3           agreements?


   Designation:
    99: 5    A.     Yes, I am.


   Designation:
    99: 7    Q.     And when did you develop that awareness?
        8    A.     When I was in court last week listening to
        9           Mr. Hackney's description of those issues to the
       10           judge.
       11    Q.     And have you taken any steps to evaluate whether the
       12           City concurs with the insurer's construction of the
       13           documents on this point?
       14    A.     No.


   Designation:
   101: 8    Q.     In determining whether to enter into the settlement
        9           agreement, did the City consider whether the casino
       10           revenues constituted special revenues under the
       11           bankruptcy code?
       16    A.     No.
       18    Q.     So, you didn't consider it or you don't know?
       19    A.     I said we didn't consider it.


   Designation:
   107:10    Q.     Has the City considered selling or leasing Belle Isle?
       11    A.     Not to my knowledge.


   Designation:
   107:12    Q.     Has the City looked into possible sources of funding
       13           from the State of Michigan?
       14    A.     I'm not going to discuss that.
       15    Q.     Has the City looked into possible sources of funding



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       16           from the federal government?
       17      A.   I'm not going to discuss that either.
       18      Q.   On what basis?
       19      A.   Commercially sensitive information.


   Designation:
   108: 6    Q.     Mr. Buckfire, good afternoon. My name is Steve
        7           Hackney. I'm an attorney at Kirkland & Ellis, and I
        8           represent Syncora Capital Assurance and Syncora
        9           Guaranty. Nice to meet you.
       10    A.     Likewise.


   Designation:
   109: 4                    So, as I understood your testimony, you
        5         were the lead negotiator for the City when it came to
        6         negotiating the business deal, is that correct?
        7    A.   Yes.
        8    Q.   Other people were going to paper the business deal in
        9         terms of the legal terms that would embody it,
       10         correct?
       11    A.   Yes.
       12    Q.   Let me ask you a question. The kickoff of the
       13         negotiations that led to the forbearance agreement I
       14         understood you to say began on June 4th, correct?
       15    A.   Yes.
       16    Q.   Who called that meeting?
       17    A.   Counsel to Jones Day called counsel for BAML and
       18         invited them to the meeting.
       19    Q.   Fair to say that the meeting was held at the behest of
       20         the City of Detroit?
       21    A.   Yes.
       22    Q.   Did you take legal advice, you personally as the lead
       23         negotiator for the City, did you take legal advice
       24         from Jones Day in advance of the June 4 meeting?
       25    A.   Yes.
   110: 1    Q.   Would you disclose to me the legal advice you obtained
        2         from them?
        3                    MR. CULLEN: I'll instruct him not to
        4         answer.
        5                    MR. HACKNEY: So, if I ask questions about
        6         the legal advice you had been given about the COPs
        7         Swap structure or various parties' rights thereunder,
        8         you would instruct the witness not to answer those
        9         questions?
       10                    MR. CULLEN: Right.
       11                    MR. HACKNEY: And I take it, Mr. Cullen,
       12         that instruction would remain true both from -- at any
       13         time?
       14                    MR. CULLEN: Right.
       15                    MR. HACKNEY: Not just with respect to the
       16         June 4 meeting?
       17                    MR. CULLEN: Precisely.
       18    BY MR. HACKNEY:
       19    Q.   Okay. Let me ask you, Mr. Buckfire, I'm going to


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       20           speculate, perhaps not wildly, that you've negotiated
       21           a few deals in your lifetime.
       22      A.   Yes.
       23      Q.   Isn't it fair to say as a negotiator, you have to have
       24           an understanding of the financial needs and desires of
       25           your client as well as the counterparty with whom you
   111: 1           are negotiating?
        2      A.   Yes.
        3      Q.   You also have to have at least some understanding of
        4           the legal framework in order to negotiate effectively,
        5           correct?
        6      A.   Yes.
        7      Q.   You don't have to go to law school, right, but you do
        8           have to understand some of the ins and outs of the
        9           various legal documents that you're negotiating over,
       10           correct?
       11      A.   As well as any layman can be expected to do so.
       12      Q.   Now, I'd like to get a level set as to where you were
       13           on June 4th, 2013 as you're going into this meeting
       14           with BAML.
       15      A.   And UBS.
       16      Q.   And UBS. So, they were there too?
       17      A.   Yes.
       18      Q.   Okay. I want to make sure I have a level set under
       19           the operating assumptions that you had in your mind as
       20           you were going into the meeting to negotiate with the
       21           Swap counterparties, okay?
       22                      One of your operating assumptions was that
       23           there were termination events existing under the
       24           Swaps, correct?
       25      A.   There were events of default existing under the Swaps,
   112: 1           the collateral agreement.
        2      Q.   Okay. So, let's take a step back and let me be more
        3           precise.
        4      A.   Okay.
        5      Q.   So, there is a Swap agreement that the Swap
        6           counterparties are parties to with the service
        7           corporations?
        8      A.   Correct.
        9      Q.   You are aware of that?
       10      A.   I am.
       11      Q.   You are also aware that there is a collateral
       12           agreement that is between among other parties the
       13           City, the service corporations and the Swap
       14           counterparties, correct?
       15      A.   Yes.
       16      Q.   Now, at the time you're going into the June 4 meeting,
       17           one of your operating assumptions was that there were
       18           termination events under the Swap that would give the
       19           Swap counterparties the right to terminate?
       25      A.   No, I was focused on the cash issue that would be at
   113: 1           risk under the collateral agreement.
        3      Q.   And let me tie it up a little bit to see if this jogs
        4           your memory. The collateral agreement certainly
        5           relates to the Swaps that was entered into in 2009,
        6           correct?


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        7      A.   Correct.
        8      Q.   The collateral agreement cash trap arguably slams shut
        9           upon the occurrence of termination events or events of
       10           default under the Swap, is that your understanding?
       15      Q.   Okay.
       16      A.   Want to try again.
       17      Q.   Did you understand that the collateral agreement and
       18           the cash trapping were securitizing the City's
       19           obligations to the service corporations and the
       20           service corporations' obligations to the Swap
       21           counterparties under the Swap?
       22      A.   No.
       23      Q.   Did you understand that the collateral agreement what
       24           it was ultimately securing was the termination payment
       25           that might be made under the Swaps?
   114: 2      A.   No.
        4      Q.   Did you believe that the collateral agreement had
        5           created like a new obligation by the City to pay the
        6           Swap counterparties?
        7      A.   It created a collateralized obligation to pay the Swap
        8           counterparties.
        9      Q.   Okay. So, going back to the June 4 meeting, let me
       10           put it in vernacular that I hope is more correct about
       11           what you were assuming. Okay?
       12                      You were assuming that there had been
       13           events of default under the collateral agreement that
       14           would allow the Swap counterparties to trap cash,
       15           correct?
       16      A.   I wasn't assuming anything. I knew there were two
       17           events of default.
       18      Q.   Let me --
       19      A.   But they had not been asserted by the Swap
       20           counterparties but they existed.
       21      Q.   Let me restate it. As of June 4 you knew that there
       22           were events of default under the collateral agreement
       23           that would allow the Swap counterparties to trap cash,
       24           fair statement?
       25      A.   If they chose to do so, yes.
   115: 1      Q.   If they chose to do so.
        2      A.   Correct.
        3      Q.   And you also -- let me make sure I get this right.
        4           You also believed that they would be able to declare
        5           termination event and potentially be paid four hundred
        6           million dollars, correct?
        7      A.   Yes.
        8      Q.   And that was also one of your operating assumptions as
        9           you're going into the negotiation, correct?
       10      A.   Yes.
       11      Q.   And your understanding that they could do so was that
       12           they could do so unilaterally, correct?
       13      A.   Correct.
       14      Q.   And your understanding with both with respect to
       15           declaring termination of the Swaps and getting a
       16           termination payment and trapping cash was that there
       17           was no other party that could direct their actions,
       18           correct?


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       19      A.   That's correct.
       20      Q.   And your understanding of these operating assumptions
       21           remain consistent between June 4 and June 11 when you
       22           struck the agreement in principle, correct?
       23      A.   Correct.
       24      Q.   And in fact it remained consistent for you all the way
       25           through the execution on July 15th of the forbearance
   116: 1           agreement, correct?
        2      A.   Correct.
        3      Q.   And the forbearance agreement itself did not
        4           materially change the business terms of the deal that
        5           you had struck on June 11th, correct?
        6      A.   No, except for the small negotiation we had around the
        7           date of the first option. It was the only material
        8           business term that changed.
        9      Q.   Okay. So, there was some changes of timing in terms
       10           of when the percentages stepped up?
       11      A.   Yes, because the agreement took a long time to
       12           negotiate. We had originally assumed we would
       13           complete a forbearance in June. It took until July so
       14           we asked for and were granted an additional month on
       15           the first option payment.
       16      Q.   Fair point. Thank you for that correction. Other
       17           than that change to what I'll describe as the business
       18           terms that you negotiated on June 11th, there were no
       19           other material changes to the deal that you struck,
       20           correct?
       21      A.   No.
       22      Q.   It was just legal beagles doing what they do, correct?
       23      A.   I would never call them legal beagles, but yes, the
       24           lawyers were doing what they were supposed to do.
       25      Q.   Okay. All right. Now, I want to clarify at the June
   117: 1           4 meeting other than saying that the City would
        2           vigorously litigate attempts to trap cash, you did not
        3           express the City's views on the merits of that
        4           litigation, correct?
        5      A.   Correct.
        6      Q.   You just said we're going to fight like hell to stop
        7           you from trapping cash or words to that effect?
        8      A.   That's correct.
        9      Q.   And you didn't say by the way here's why we are going
       10           to win because we have this great argument and you're
       11           going to lose, right?
       12      A.   I never said that.
       13      Q.   Never said words to that effect, correct?
       14      A.   No.
       15      Q.   Never attempted to argue the merits of why the Swap
       16           counterparties wouldn't be able to trap cash, fair
       17           statement?
       18      A.   Correct.
       19      Q.   And no one else on the City side did either, correct?
       21      A.   Not to my recollection.
       23      Q.   And you never attempted to argue the merits of the
       24           City's case to the Swap counterparties at any time
       25           between June 4 and June 11 when you reached the
   118: 1           agreement in principle, correct?


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        2      A.   Correct.
        3      Q.   And you never witnessed anyone else do so on behalf of
        4           the City either, correct?
        5      A.   Not that I recall.


   Designation:
   120:13    Q.     Now, at the time of the June 4 meeting you were aware
       14           that a bankruptcy filing for the City of Detroit was
       15           at least a possibility, correct?
       16    A.     Yes.
       17    Q.     Had you reached the view at that time that it was a
       18           likelihood?
       19    A.     It was a possibility.




   Designation:
   121: 4    Q.     And if I ask you at the time -- well, let me ask a
        5           general question. I'm not asking you to disclose the
        6           subject of communication -- the communications
        7           themselves, but I want to ask whether you had taken
        8           legal advice on the subject of the automatic stay.
        9           Don't tell me what the legal advice was.
       10                      Had you taken legal advice on the subject
       11           of the automatic stay at any time between June 4 and
       12           June 11?
       14    A.     Yes, I did.
       16    Q.     So, you had taken legal advice from Jones Day, is that
       17           correct?
       18    A.     Correct.
       19    Q.     But if I ask you what the advice was, you'll follow
       20           your counsel's instruction and not answer, correct?
       21    A.     Correct.


   Designation:
   122: 4    Q.     I have a broader question which is at any time prior
        5           to June 11th did you or anyone else at Miller Buckfire
        6           to your knowledge perform an analysis of what interest
        7           rates were likely to do in the future?
        8    A.     No.
        9    Q.     Did anyone study any LIBOR curves prior to June 11?
       10    A.     I don't recall.
       11    Q.     You certainly didn't?
       12    A.     I did not.
       13    Q.     Okay. When you testified about Mr. Marken, you
       14           testified about something I think he had done a couple
       15           days ago and we're in August. So, I'm going to ask
       16           the same question now about July 15th which is the
       17           execution date.
       18                      As of the execution date of the forbearance
       19           agreement, had you or anyone else at Miller Buckfire
       20           undertaken an assessment of what interest rates were



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       21           likely to do?
       22      A.   No.


   Designation:
   123: 6    Q.     You were asked a lot of questions about the service
        7           corporations. I think we established that you don't
        8           know their directors and haven't met them, but I want
        9           to make a point clear about the negotiations which is
       10           you never engaged in arm's length negotiations with
       11           the service corporations, correct?
       12    A.     Correct.
       13    Q.     And you never witnessed anyone else do so either,
       14           correct?
       15    A.     Correct.
       16    Q.     And it's your understanding that Mr. Orr directed the
       17           service corporations to execute the agreement and they
       18           did, correct?
       19    A.     Correct.
       20    Q.     Now, you referenced a standstill agreement that was
       21           something that had been proposed by the Swap
       22           counterparties prior to June 4, 2013.
       23                      Do you recall that testimony?
       24    A.     I do.
       25    Q.     Your understanding of the standstill agreement, I
   124: 1           understand we are going to get it but we don't have it
        2           today so I have to tell you what I understand from
        3           your testimony.
        4                      Your understanding of it was that it
        5           allowed the cash to flow out of the -- it allowed the
        6           casino revenues to flow in exchange for the City
        7           agreeing to waive arguments about the invalidity of
        8           the Swaps but was terminable at any time?
        9    A.     By the Swap counterparties.
       10    Q.     By the Swap counterparties, correct?
       11    A.     Correct.
       12    Q.     And that was unacceptable because that meant at any
       13           time they could change their mind and trap the cash,
       14           correct?
       15    A.     By those terms, yes.
       16    Q.     Now, under the forbearance agreement I understand that
       17           you're not an attorney but you are a sophisticated
       18           businessman who deals with legal documents on a
       19           regular basis, true statement?
       20    A.     Regrettably.
       21    Q.     More than he wants to? But under the forbearance
       22           agreement isn't it true that your understanding is
       23           that the City has agreed during the forbearance period
       24           that it won't seek to declare the Swaps invalid,
       25           correct?
   125: 1    A.     Correct.
        2    Q.     And during the forbearance period the Swap
        3           counterparties are allowing the cash to flow through
        4           the collateral account, right?
        5    A.     Yes.
        6    Q.     So, they waive their argument to trap the cash in


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        7           exchange for other things that they got, correct?
        8      A.   Correct.


   Designation:
   126:15    Q.     You never proposed what I'll call a smaller deal that
       16           would have attempted to maintain the status quo for
       17           some period of time without trying to achieve a
       18           potential termination of a Swap at a discount so on
       19           and so forth, true statement?
       20    A.     True.


   Designation:
   127: 6    Q.     Isn't it true that between March 12th of -- between
        7           March of 2012 and June 4th, 2013, the Swap
        8           counterparties had never terminated the Swaps,
        9           correct?
       10    A.     That's true.
       11    Q.     Despite the fact that in your view they had the right
       12           to do so, right?
       13    A.     That's correct.
       14    Q.     And during that entire time period which is 14 months
       15           they had never demanded that cash be trapped, correct?
       16    A.     No, they hadn't.


   Designation:
   129:13    Q.     Understood. That's very helpful. So, let me try and
       14           summarize it which is when you re-engaged in January
       15           of 2013, you were made aware of a -- of the general
       16           desire of the Swap counterparties to for lack of a
       17           better term figure out what the City and the Swap
       18           counterparties were going to do about the Swap,
       19           correct?
       20    A.     Yes.
       21    Q.     And you then held them off between that time and June
       22           4 as you tried to buy time for Ernst & Young to get
       23           its arms around the financial position of the City,
       24           correct?
       25    A.     Yes, and our other advisors.
   130: 1    Q.     And your other advisors, absolutely. And it was only
        2           after you had gotten that analysis done that you felt
        3           you were now ready to initiate a meeting with the Swap
        4           counterparties to speak meaningfully about what should
        5           be done with the Swap?
        6    A.     In the context of an overall recommendation to Mr. Orr
        7           about how to protect the City and its liquidity.
        8    Q.     And so during that time period which was from January
        9           of 2013 to June of 2013, despite these growing signs
       10           of impatience by the Swap counterparties, they still
       11           didn't trap cash, did they?
       12    A.     They were being paid in the ordinary course. There
       13           was no economic consequence that they had to worry
       14           about. They didn't know the financial condition of
       15           the City. There was no economic reason for them to do


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       16           anything, but clearly as the condition of the City
       17           became more desperate and everyone became more aware
       18           of it, the risk they would do something became
       19           greater.
       20      Q.   I see. So, it was the disclosure of information by
       21           Mr. Orr on June 14th, was that a factor that drove you
       22           to negotiate in advance of that?
       23      A.   No. Recall that his earlier disclosure was I believe
       24           in April.
       25      Q.   Oh, that's right.
   131: 1      A.   And that was the first time that the public and the
        2           capital markets really became aware of the true
        3           financial condition of Detroit.
        4      Q.   So, in April Mr. Orr made a disclosure that basically
        5           said if I could summarize that things are not well in
        6           Detroit, correct?
        7      A.   That's accurate.
        8      Q.   But despite that disclosure and subsequent to the
        9           report in April and May, Swap counterparties didn't
       10           demand cash be trapped, correct?
       11      A.   Correct.
       12      Q.   They didn't terminate the Swap, correct?
       13      A.   Correct.
       14      Q.   After June 11, after you've cut the business deal and
       15           here come the lawyers to write it down, fair to say
       16           that you're on the sidelines now as the lawyers work
       17           out the legal language, but you're still monitoring
       18           the course of the legal negotiations given the
       19           importance of what's at stake?
       22      A.   I was generally aware of what was going on.
       24      Q.   I'm trying to get on the idea that you're not on the
       25           phone with all these lawyers like directly
   132: 1           participating and listening to the negotiations of the
        2           forbearance agreement itself but you're keeping tabs
        3           on how it's progressing and when it's hoped to be
        4           executed, correct?
        5      A.   Correct.
        6      Q.   Put another way, you are aware of the legal
        7           negotiation process as it goes along even though
        8           you're not personally involved in it, correct?
        9      A.   Correct.
       10      Q.   And that's because this was such an important
       11           agreement that you as an important advisor to the City
       12           needed to be up to speed on what was going on with the
       13           forbearance agreement?
       14      A.   Correct, but recall that on June 11th the Swap
       15           counterparties did issue a letter to US Bank
       16           authorizing them to release the tranche of cash due to
       17           us on June 15th and therefore we knew we had until
       18           July 15th to get to the next tranche.
       19                      So, from a financial perspective I was
       20           comfortable with where we were with the Swap
       21           counterparties.
       22      Q.   Because after that discharge of cash, then it goes
       23           back to just slowly building up, you get it for the
       24           rest of the month and then it slowly builds up in the


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       25           first part of July?
   133: 1      A.   Correct.
        2      Q.   So, you felt like we had some time to negotiate?
        3      A.   That's correct.
        4      Q.   Yeah. Your understanding is that the legal
        5           negotiations of the forbearance agreement were
        6           complicated but that they proceeded uninterrupted from
        7           June 11th to July 15th, correct?
        8      A.   Correct.
        9      Q.   And if there had been a serious interruption in these
       10           negotiations, you would have likely known about this
       11           as an important advisor to the City, correct?
       12      A.   Yes.
       13      Q.   And you are aware of no serious interruption, correct?
       14      A.   No.
       15      Q.   That's not correct?
       16      A.   I'm not aware of any serious interruptions.
       17      Q.   In late June of 2013 you learned that Syncora wanted
       18           to make a proposal to the City, isn't that correct?
       19      A.   Yes.
       20      Q.   And you had a conversation with Todd Snyder on the
       21           subject of Syncora's potential proposal on Saturday,
       22           June 29th, isn't that correct?
       23      A.   That's correct.
       24      Q.   Mr. Snyder you understood is a banker at Rothschild's,
       25           correct?
   134: 1      A.   Correct.
        2      Q.   And you also understood that he was representing
        3           Syncora, correct?
        4      A.   Yes.
        5      Q.   And you also understood that at the time that he was
        6           calling you, that there had been previous
        7           communications between counsel to Syncora and counsel
        8           to the City, correct?
        9      A.   I had heard about it but I wasn't aware of the
       10           specifics.
       11      Q.   Okay. So, you knew Jones Day and Kirkland and maybe
       12           others had met and talked about something but you
       13           didn't know what it was?
       14      A.   I knew they were talking about the issues raised by
       15           Syncora.
       16      Q.   Okay. Now, tell me -- so, in terms of Syncora's
       17           potential proposal, your first percipient knowledge of
       18           it as a witness happens on that Saturday when you have
       19           your conversation with Mr. Snyder, is that a fair
       20           statement?
       21      A.   Correct.
       22      Q.   Tell me everything you can recall about that
       23           conversation.
       24      A.   It was quite brief. Todd told me he had been retained
       25           by Syncora and that they wanted to propose something
   135: 1           that would be of benefit to the City in resolving the
        2           Swap matter. I told him that we were always willing
        3           to listen to anything anyone had to say and I asked
        4           him to tell me what he had in mind. He never did.
        5      Q.   Have you told me everything you can recall about that


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        6           conversation?
        7      A.   Yes.
        8      Q.   During that conversation didn't Mr. Snyder describe
        9           the general structure of a proposal Syncora wanted to
       10           make?
       11      A.   No.
       12      Q.   So, if Mr. Snyder says he did, he's lying or mistaken?
       13      A.   He never made a specific proposal to me.
       14      Q.   I'm not saying a specific proposal, I'm saying a
       15           general structure of a proposal, that's what he
       16           testified to in his affidavit.
       17                      Did he provide to you the general structure
       18           of a proposal that Syncora wanted to make?
       19      A.   Not that I recall.
       20      Q.   Possible he did, possible he didn't, you just can't
       21           remember?
       22      A.   I can't remember.
       23      Q.   Did he tell you that we'd be able to put specifics
       24           into the general structure of the proposal if we could
       25           execute an NDA that would allow us to learn about the
   136: 1           negotiations with the Swap counterparties?
        2      A.   Yes, he did.
        3      Q.   What did you tell him in response to that?
        4      A.   I said he should send us an NDA and we'll take a look
        5           at it.
        6      Q.   And you understood that at least as he expressed to
        7           you that he wanted an NDA as a precursor in order to
        8           make a specific proposal, correct?
        9      A.   Correct.
       10      Q.   Isn't it true that after that time you understood that
       11           an NDA was proposed to the City, correct?
       12      A.   Yes.
       13      Q.   And the City refused to execute that NDA, isn't that
       14           correct?
       15      A.   That's correct.


   Designation:
   137:15    Q.     And that's because -- but you do remember him telling
       16           you the specifics would come after we sign an NDA?
       17    A.     I do.
       18    Q.     Yeah. And then your understanding is that there was a
       19           problem with the NDA that you couldn't discuss the
       20           proposal with the EFM?
       21    A.     That's correct.
       22    Q.     And that was something that the parties couldn't get
       23           over?
       24    A.     I asked Jones Day to go back to Kirkland Ellis and try
       25           to fix the problems we had in the NDA and then I moved
   138: 1           on to other issues.
        2    Q.     And your understanding was that to the extent those
        3           problems didn't get fixed it was because Kirkland
        4           Ellis was being obstinate with respect to the terms of
        5           NDA?
        6    A.     I don't know why we never resolved it.
        7    Q.     So, to this day you don't know whether or not an NDA


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        8           could have been struck that would have allowed Syncora
        9           to make a rival proposal, correct?
       10      A.   All I can tell you is that no NDA was entered into
       11           because the terms were unacceptable.
       12      Q.   And you don't know why one wasn't entered into
       13           ultimately after that?
       14      A.   I don't think we could ever resolve the issues.
       15      Q.   And this was in advance of your having executed the
       16           forbearance agreement, correct?
       17      A.   Yes.
       18      Q.   As a negotiator, don't you agree that it's nice
       19           whenever you can play two parties off against each
       20           other?
       21      A.   I didn't have two parties, I had one party. I had the
       22           Swap counterparties.
       23      Q.   And I'm not asking about in this case, I'm asking
       24           about as a general principle, isn't it nice when you
       25           can play two parties off against each other?
   139: 1      A.   Sometimes.
        2      Q.   Isn't that something that you'll do in the DIP
        3           financing which is you'll get all these offers in and
        4           then you'll make these guys compete with each other in
        5           order to drive best possible deal for the City,
        6           correct?
        7      A.   Only if you assume a level playing field which this
        8           negotiation was not.
        9      Q.   I'm just asking generally about the idea of trying to
       10           drive the best deal possible through competition
       11           amongst different negotiating parties. Can be
       12           valuable, right?
       13      A.   Can be under the right circumstances. This was not
       14           one of them.
       15      Q.   And what was wrong about the circumstances?
       16      A.   Because we had only two parties to the table, the Swap
       17           counterparties who had signed the collateral
       18           agreement. There was nobody else to negotiate with.
       19      Q.   That's right, that's right, because your understanding
       20           was that Syncora had no rights whatsoever under the
       21           collateral agreement, correct?
       22      A.   Correct.
       23      Q.   And your understanding was they had no ability to
       24           direct the actions of the Swap counterparties,
       25           correct?
   140: 1      A.   I testified earlier that my understanding, I was
        2           advised, the only parties of interest here are the
        3           Swap counterparties.
        4      Q.   And it was also your understanding that Syncora didn't
        5           have any rights under the Swaps that would be
        6           terminated, correct?
        7      A.   Only talking about the collateral agreement.
        8      Q.   We talked about the fact that there might be a
        9           termination event for four hundred million dollars.
       10           That's not under the collateral agreement, right?
       11      A.   True.
       12      Q.   So, we are talking about the Swaps, right?
       13      A.   Yes.


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       14      Q.   Now, let's put aside what you've been told about who
       15           the relevant parties were. You did know that Syncora
       16           was a Swap insurer, right?
       17      A.   Yes.
       18      Q.   And you understood as a layperson but a sophisticated
       19           one that if an insurer makes a payment to the insured
       20           it becomes subrogated to the rights of the insured
       21           with respect to that payment, correct?
       22      A.   Yes.
       23      Q.   And isn't it true that if the Swap counterparties had
       24           terminated, they wouldn't have waited around for two
       25           years to collect the casino revenues, right, they
   141: 1           would have demanded Syncora made good on its Swap
        2           insurance and let Syncora try and stick around and
        3           collect the casino revenues, correct?
        6      A.   It wasn't an issue for the City.
        8      Q.   I'm asking whether you thought that was a possibility
        9           back at the time you were negotiating the forbearance
       10           agreement?
       11      A.   It wasn't an issue for the City. Had no impact on the
       12           City's access to cash.
       13      Q.   But if Syncora was a party that might come in in lieu
       14           of the Swap counterparties, didn't you want to find
       15           out whether you might be able to cut a better deal
       16           with Syncora?
       19      A.   I can't speculate to that.
       21      Q.   All you can say is that you never did, correct?
       22      A.   Correct.
       23      Q.   And in fact between June 29th when you spoke to
       24           Mr. Snyder and today, there have never been
       25           substantive negotiations between the City and Syncora
   142: 1           to your knowledge, isn't that correct?
        2      A.   Not on this, no.


   Designation:
   142:19                      As the banker who is leading the DIP,
       20           what's your understanding of the role the casino
       21           revenues will play in the collateral package offered
       22           in connection with the DIP?
       23    A.     They will be part of the collateral package.
       24    Q.     So, they will be part, and when you say they, do you
       25           mean a specific period of time of the casino revenues
   143: 1           or do you mean casino revenues projecting into the
        2           future?
        3    A.     It's commercially sensitive so I'm going to decline to
        4           answer it.


   Designation:
   143:12    Q.     You agree that the goal of the forbearance agreement
       13           is to get the collateral agreement to terminate so
       14           that the City can get access to the casino revenues,
       15           correct?
       17    A.     That is one of the goals.
       19    Q.     That is one of the goals. And isn't it true that your


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       20           current expectation is that you need the postpetition
       21           financing, the DIP loan to close in order to be able
       22           to exercise the option under the forbearance
       23           agreement, correct?
       24      A.   Correct.
       25      Q.   And there was testimony on that today because you
   144: 1           don't have the money otherwise, right, Mr. Buckfire?
        2      A.   That is part of the collateral package, yes.
        3      Q.   I'm talking about the use of proceeds of the DIP just
        4           so we're clear. Part of the use of proceeds of the
        5           DIP will be to exercise the option under the
        6           forbearance agreement, correct?
        7      A.   Correct.
        8      Q.   You understand that you won't have unfettered access
        9           to the casino revenues until you exercise the option
       10           that leads to the termination of a Swap in the
       11           collateral agreement, correct?
       12      A.   Yes.
       13      Q.   Isn't this a bit circular?
       14      A.   Regrettably.
       15      Q.   How did you factor that consideration into the
       16           determination as to whether to engage in the
       17           forbearance agreement?
       18      A.   Well, this is why the Swap collateral agreement is
       19           such a problem for the City. Unless we can eliminate
       20           the collateral and regain control over gaming revenues
       21           without risk of loss because of defaults that would
       22           trap it, we need to rationalize and clean this up in
       23           order to put the City on a sound financial basis.
       24      Q.   So, there are two parts -- there are -- there may be
       25           many parts but two of the important parts of the
   145: 1           forbearance agreement are getting the Swap
        2           counterparties to waive their right to trap cash and
        3           then taking out the Swap at a discounted value,
        4           correct?
        5      A.   Well, if we take out the Swap at a discounted value
        6           and we pay off the Swap, then there is no need for the
        7           collateral agreement.
        8      Q.   That's true but that may be something that happens
        9           down the road. So, in the interim between then it's
       10           the waiver of the cash trapping rights and the
       11           discounted potential value of the termination,
       12           correct?
       13      A.   Which is a short-term agreement. It only goes to next
       14           June. There are termination events along the way and
       15           in any case as I am aware as a sophisticated layman,
       16           there is risk under the bankruptcy code that the Swap
       17           counterparties could avail themselves of relief under
       18           the provisions for Swaps and irrespective of the
       19           automatic state, still take the money.
       20      Q.   Okay. But they've waived those rights under the
       21           forbearance agreement?
       22      A.   So long as the forbearance agreement exists.
       23      Q.   And they waive their rights under the collateral
       24           agreement to trap crash, correct?
       25      A.   For now.


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   Designation:
   147:12    Q.   So, I'd like to ask you about the concept of what I
       13         call a clean closing, okay, and a clean closing is one
       14         where you engage in a transaction with someone and
       15         both parties walk away from the transaction with an
       16         expectation that neither of them will have liability
       17         arising from the closing. That's what I mean when I
       18         say a clean closing.
       19                    Isn't it true that it's your understanding
       20         that it is important to the Swap counterparties that
       21         they get a clean closing with the City if the City
       22         exercises its option?
       23    A.   Yes.


   Designation:
   149:16    Q.   All right. Do you remember we talked about -- do you
       17         remember that you talked about the concept that the
       18         Swap counterparties could walk away from the Swaps if
       19         interest rates ever look like they were going into
       20         territory that was positive for the service
       21         corporations?
       22    A.   Yes.
       23    Q.   And that was a right that you understood they had
       24         received as part of the 2009 restructuring that led to
       25         the collateral agreement, correct?
   150: 1    A.   Yes.
        2    Q.   Do you understand that that's called an optional early
        3         termination?
        4    A.   Yes.
        5    Q.   And you understand that under -- when they exercise an
        6         optional early termination, the Swap counterparties
        7         take nothing from the service corporations, correct?
        8    A.   That's correct.
        9    Q.   That's the point of the walkaway which is they get to
       10         walk away but they don't get paid anything?
       11    A.   That's because the Swaps not in the money anymore.
       12    Q.   Well, even if it is or is it isn't, right?
       13    A.   Right.
       14    Q.   In fact today the Swaps are very much in the money,
       15         correct?
       16    A.   Correct.
       17    Q.   And obviously the Swap counterparties have never
       18         threatened to exercise an optional early termination,
       19         correct?
       23    Q.   To you?
       24    A.   No.
       25    Q.   That wouldn't make sense, would it?
   151: 1    A.   Not as long as you're being paid on time.
        2    Q.   And also why would you terminate a Swap on an optional
        3         early basis and be paid nothing when it is worth by
        4         your testimony approximately three hundred million
        5         dollars, correct?
        7    A.   It wouldn't be economically rational.


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        9      Q.   That would not be economically rational. And your
       10           understanding under the forbearance agreement is
       11           what's happening is that in exchange for all the
       12           consideration, the Swap counterparties' termination
       13           rights are being discounted to somewhere between 75
       14           and 82 percent, correct?
       15      A.   Correct.
       16      Q.   We talked a lot about cash flow forecasts earlier.
       17           The cash flow forecasts that are contained in the
       18           proposal that you discussed with Mr. Summers, do you
       19           remember those?
       20      A.   Yes, uh-huh.
       21      Q.   E & Y prepared those, correct?
       22      A.   Yes.
       23      Q.   And you have certainly reviewed them and familiarized
       24           yourself with them, correct?
       25      A.   Yes.
   152: 1      Q.   But you are not someone who can answer specific
        2           questions about how they were created, correct?
        3      A.   No, that's correct.
        4      Q.   If I wanted to ask about any particular line item how
        5           did they get this number, the person to ask that would
        6           be Ernst & Young?
        7      A.   Correct.
        8      Q.   I'd like to go back and talk briefly about the art and
        9           I don't want to talk about the art as part of the DIP
       10           or anything like that or what you're going to do with
       11           it.
       12                      I want to go back to June 4 and ask as of
       13           June 4, had you made an assessment of the value of the
       14           City's art collection?
       15      A.   No.
       16      Q.   Have you made even a rough approximation of its worth?
       17      A.   No.
       18      Q.   And why hadn't you done that?
       19      A.   We're not qualified to do so.
       20      Q.   Why hadn't you retained someone, gosh, back in
       21           January, February that was qualified to do so to come
       22           in and see whether these assets were valuable?
       23      A.   We identified early on as an issue. We got to it as
       24           we could, but it was not a significant crisis for the
       25           City because we were focused on cash and preserving
   153: 1           cash.
        2      Q.   Well, sometimes art can be turned into cash I think,
        3           isn't that right?
        4      A.   Some people would think so.
        5      Q.   In fact there are art sales of significant amount
        6           every year in this country, isn't that right?
        7      A.   So I'm told.
        8      Q.   And you've read about them in the paper from time to
        9           time when you read the Wall Street Journal, correct?
       10      A.   Yes.
       11      Q.   And this is art that the City owns, right?
       14      Q.   Correct?
       15      A.   That's correct.
       16      Q.   But you understood took no effort to see whether the


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       17           City could obtain cash out of assets that were hanging
       18           in the Detroit Art Institute as a substitute for going
       19           in and engaging in this negotiation with the Swap
       20           counterparties, correct?
       21      A.   Correct.
       22      Q.   We talked earlier about creditor recoveries and I want
       23           to make sure that I understood your testimony on that
       24           point.
       25                      You understand that Mr. Orr made a proposal
   154: 1           to creditors that's called proposal for creditors back
        2           in June of 2013, correct?
        3      A.   Correct.
        4      Q.   You helped him formulate that proposal, isn't that
        5           right?
        6      A.   Yes.
        7      Q.   The proposal -- I'm going to summarize it but you
        8           should feel free to correct me as somebody who knows
        9           it better and can say it better than I, but basically
       10           put the proposal suggests that unsecured creditors
       11           will share in two billion dollars of bonds that are
       12           issued by the City upon emergence, correct?
       13      A.   Correct.
       14      Q.   And the proposal assumes that the City will have
       15           unfettered access to casino revenues because that's
       16           what its projections show, correct?
       17      A.   Yes.
       18      Q.   So, even if the City has unfettered access to the
       19           casino revenues, its current proposal is still that
       20           the unsecured creditors will just share in this two
       21           billion dollar pot, correct?
       22      A.   That's correct.
       23      Q.   So, is it fair to say that getting access to this
       24           money will not by itself increase creditor recoveries?
       25      A.   No, it's part of the base case plan that we presented
   155: 1           which is the base case recovery we presented on June
        2           14th.
        3      Q.   Right. So, if the court grants the motion and you get
        4           access to it, that will be consistent with the base
        5           case which is consistent with the two billion dollar
        6           offer, right?
        7      A.   Correct.
        8      Q.   So, it won't go up if the court grants you the access
        9           that you're assuming you'll get?
       10      A.   But it will go down if the court does not.
       11      Q.   That's a different question. I'll get to that in a
       12           moment.
       13                      It won't go up if the court grants the
       14           motion, correct?
       15      A.   Correct.
       16      Q.   Your argument if I understood it was that the
       17           casino revenues will be used to invest in the City,
       18           correct?
       19      A.   Revenues of the City are fungible. All I'm saying if
       20           you don't have access to those revenues, then you
       21           don't have the billion dollar plus of revenues that
       22           you thought you had which is supporting not only


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       23           current operations but the reinvestment plan.
       24      Q.   And I will say that I had understood you earlier to
       25           say if you didn't have access to casino revenues, that
   156: 1           City services would suffer?
        2      A.   In the short-term, yes.
        3      Q.   Yeah. But it's fair to say that you're not proposing
        4           to obtain the casino revenues, access to them and
        5           throw them on to the pot of the two billion dollars
        6           that's already being proposed to unsecured creditors,
        7           correct?
       11      A.   I've already testified that the access to gaming
       12           revenues is part of the plan which supports the two
       13           billion dollar anticipated issuance of notes.
       15      Q.   And you mean that from a feasibility standpoint,
       16           right?
       17      A.   Yes.
       18      Q.   You mean it will strengthen the City and that will
       19           make the City more able to perform under the notes and
       20           that will make the notes more valuable to the
       21           creditors, right?
       22      A.   That would be one result.
       23      Q.   Let me ask you by how much will creditor recoveries go
       24           down if the court declines to approve the forbearance
       25           agreement?
   157: 1      A.   We haven't calculated that plan yet. It would
        2           certainly be a significant reduction and it would be
        3           borne primarily by the unsecured creditors as a
        4           group.
        5      Q.   Prior to July 15th you had not attempted a detailed
        6           calculation to understand the impact to unsecured
        7           creditor recoveries if the casino revenues were not
        8           unfreed, correct?
        9      A.   That's correct.
       10      Q.   So, you don't know whether it's pennies on the dollar
       11           or dimes on the dollar, correct?
       12      A.   We are already at dimes on the dollar in this --
       13      Q.   There's only pennies left.
       14      A.   We hope there's pennies left.
       15      Q.   There was some -- there was a lot of questioning
       16           about the financial forecasts, and I'm not going to
       17           try and reinvent the wheel, but I would ask you to go
       18           back to that Page 35 that you were discussing
       19           earlier.
       20                      Do you remember, Mr. Buckfire, being asked
       21           questions about this page?
       22      A.   I do.
       23      Q.   And I guess I want to be clear that -- I know we're
       24           coming to the end of 2013, so, we'll move to this
       25           other page in a second, but at least with respect to
   158: 1           2013 if you put legacy expenditures aside,
        2           Ernst & Young forecast is of a substantial net
        3           operating surplus in excess of four hundred million
        4           dollars, correct?
        5      A.   But how can you put legacy expenditures aside in 2013
        6           because we were doing all this through the end of
        7           June.


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        8      Q.   Fair enough.
        9      A.   So, these are the numbers.
       10      Q.   Well, these are -- 2013 includes probably a full year
       11           projection, so --
       12      A.   Fiscal year ends June 30th.
       13      Q.   Oh, so, fiscal year 2013 ends on June?
       14      A.   That's correct.
       15      Q.   Let's go to 38 then.
       16      A.   Okay.
       17      Q.   Good correction there. We'll see if it's a big
       18           difference in 2014. So, this is the next fiscal year,
       19           right?
       20      A.   Correct.
       21      Q.   And this is again a financial forecast prepared by
       22           Ernst & Young, correct?
       23      A.   Yes.
       24      Q.   Now, I understand your point about the fact that this
       25           doesn't reflect the different initiatives that Mr. Orr
   159: 1           wants to implement, okay, so let me bracket that, I
        2           heard you say that earlier, but if you hold those to
        3           one side and if you also hold legacy expenditures to
        4           one side, what the City's numbers reveals is that it
        5           has a nearly four hundred million dollar net operating
        6           surplus, correct?
        7      A.   One could look at it that way.
        8      Q.   And all of the cops and the fire department and the
        9           ambulance drivers, their payroll, that's all included
       10           in these numbers, correct?
       12      A.   Yes.
       14      Q.   And so are their health benefits, correct?
       15      A.   Yes.
       16      Q.   Okay. So, if I understood it correctly, Mr. Orr wants
       17           to do a billion and a quarter of reinvestment in the
       18           City over the next ten years, correct?
       19      A.   That's right.
       20      Q.   And that's about 125 million a year, correct?
       21      A.   That's correct.
       22      Q.   And, so, even if we took the 397 down by his
       23           initiatives by 125 million, you'd still have
       24           approximately 272 million dollars left, correct, in
       25           net operating surplus?
   160: 1      A.   Yes.
        2      Q.   And that's even with him being able to do all the
        3           wonderful things that he wants to do for the City,
        4           right?
        5      A.   That's correct.
        6      Q.   So, we're now going to go to the area where I begin to
        7           do complex math which means adding things twice in a
        8           row where I often fall down. But I said it was about
        9           272 and the casino revenues are only about 170 in this
       10           forecast, right?
       11      A.   That's correct.
       12      Q.   So, even if you didn't have those and even if Mr. Orr
       13           did all his improvements, you'd still have a hundred
       14           million dollar net operating surplus, correct?
       15      A.   No, that's actually not the case, and this is not


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       16           meant to be the City's plan, it's not the City's plan.
       17           If you are proposing a different plan where the City
       18           plans to liquidates itself, then yes, I guess you
       19           could look at it this way.
       20      Q.   I'm just referring to the preliminary forecast that
       21           you all put together in this proposal and gave to us.
       22      A.   This is not the City's plan and it's not the City's
       23           forecast. This is an illustration of what happens if
       24           you don't do anything.
       25      Q.   And the key differences between this and what the
   161: 1           City's plan is are the investments that Mr. Orr wants
        2           to make, right?
        3      A.   Right.
        4      Q.   And the cost reductions he wants to make, right?
        5      A.   And the increase in staffing levels across services to
        6           provide higher level services to the City.
        7      Q.   But that's in the reinvestment, right?
        8      A.   No, it's actually hard to break out that way because a
        9           lot of it is actually in the salaries line and the HR
       10           lines.
       11                      So, you have to go back to the numbers and
       12           ask me a lot of those questions.
       13      Q.   The proposed investments that he wants to make, that
       14           he proposes to make that I'm so ruthlessly omitting,
       15           they are in this document, right?
       16      A.   Not in this projection.
       17      Q.   They're not in this projection, but they are in this
       18           proposal?
       19      A.   That's right.
       20      Q.   He laid them all out in gory detail?
       21      A.   Yes, he did.
       22      Q.   He also lays out a number of cost cutting initiatives,
       23           isn't that correct?
       24      A.   Yes, he does.
       25      Q.   And one of his goals is also to make the City more
   162: 1           efficient, correct?
        2      A.   Yes.
        3      Q.   At the same time he also wants to make it operate
        4           better, correct?
        5      A.   Correct.
        6      Q.   Those two things from a net operating standpoint work
        7           in tension with one another, right?
        8      A.   They do over time, but you have to consider the
        9           timetable and when these things are done.
       10      Q.   I want to ask you a question about state and federal
       11           aid but I don't want to mix it up into the DIP which I
       12           understand -- which I took to mean earlier was one of
       13           the sensitivities there. I want to go back to June 4,
       14           2011.
       15                      Prior to June 4, 2011 had you undertaken
       16           any effort to evaluate whether there was either state
       17           aid or federal aid that you could use in lieu of
       18           having to negotiate this deal with the Swap
       19           counterparties?
       20      A.   We are assuming there is no aid available to the City.
       21      Q.   You were assuming that there was none, but had you


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       22           undertaken an effort to determine whether there could
       23           be some?
       24      A.   I've already testified that I'm not going to discuss
       25           that.
   163: 1      Q.   And why aren't you going to tell me about that?
        2      A.   It's commercially sensitive information.
        3      Q.   Why?
        4      A.   That's my answer.


   Designation:
   163:25    Q.     And let me first ask you, Mr. Buckfire, had your firm,
   164: 1           you or your firm undertaken any analysis of this
        2           question? You don't have to tell me what it was.
        3           Let's go in stages.
        4                      Had you analyzed the problem?
        5    A.     Yes, we did.
        6    Q.     You had analyzed the problem. And is it your
        7           testimony that divulging the results of that analysis
        8           would be commercially sensitive?
        9    A.     Yes.
       10    Q.     Is part of the reason for that because of the way any
       11           potential aid from the City or from the state or the
       12           feds might interplay with the DIP process, is it the
       13           way they knit up, is that the problem?
       14    A.     Yes.


   Designation:
   165:18    Q.     Is it your understanding that the Series 2006-B COPs
       19           were issued with a floating interest rate?
       20    A.     Yes.
       21    Q.     And is it your understanding that the Swap contracts
       22           were entered into to hedge against the interest rate
       23           risk associated with the Series 2006-B COPs?
       24    A.     Yes.
       25    Q.     And the Swap contracts accomplish this hedge by
   166: 1           effectively limiting the City's payment obligations
        2           under the service contracts with respect to the Series
        3           2006-B COPs to the fixed rate that's set forth in the
        4           Swap contracts, is that correct?
        5    A.     Correct, which was amended in 2009.
        6    Q.     What was amended?
        7    A.     The original fixed rate was lower in 2006 and it was
        8           increased slightly in 2009 as part of the amendment.
        9    Q.     The Swap contracts were amended in 2009 --
       10    A.     The rate, the rate was.
       11    Q.     The rate on the Series 2006-B --
       12    A.     That's my understanding.
       13    Q.     Okay. And with the amendment in 2009 the Swap
       14           contracts still remained in place, correct?
       15    A.     That's my understanding.
       16    Q.     And those Swap contracts are still in place today and,
       17           therefore, still hedging the interest rate risk today?
       19    A.     Except as modified by the 2009 amendment.
       21    Q.     So, do you agree that from the perspective of the City


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       22           with the Swap contracts in place it's as if the
       23           Series 2006-B COPs have a fixed interest rate?
       24      A.   Yes.
       25      Q.   Have you heard of structures like this being referred
   167: 1           to as a synthetic fixed rate of interest?
        2      A.   Yes.


   Designation:
   167:22    Q.     Is there any benefit to the City from having this
       23           structure with the 2006-B COPs having a floating rate
       24           hedged by the Swap contracts as opposed to merely
       25           issuing those COPs with a traditional fixed rate?
   168: 2    A.     All their debt is now fixed. I mean they are not
        3           taking any interest rate risk as a result of the Swap
        4           that was put on top of the floating rate COPs. That
        5           is the benefit to the City.
        7    Q.     The benefit to the City from the structure is that
        8           it's a comparable interest rate risk exposure for the
        9           City?
       10    A.     They have eliminated the floating rate exposure and
       11           now they have a fixed rate on this debt similar to the
       12           rate exposure they have on the 2005 COPs which are
       13           fixed rate. So, it's all fixed now.


   Designation:
   172:17    Q.     Did you discuss any legal arguments that the City
       18           might have had against the Swap counterparties with
       19           Mr. Orr?
       20    A.     No.


   Designation:
   174:24    Q.     You want to give a minute here for your counsel maybe
       25           to object, maybe not, what legal arguments did you
   175: 1           discuss that the City might be able to raise against
        2           the Swap counterparties?
        3                      MR. CULLEN: I'm going to object and direct
        4           him not to answer.
        5    A.     I wouldn't have answered anyway, but thank you.


   Designation:
   175:17    Q.     All right. May I assume that any questions I ask you
       18           about what legal arguments or issues you might have
       19           discussed that the City would have had to assert
       20           against the Swap counterparties, conversations you
       21           would have had with Jones Day people your counsel is
       22           going to object and instruct you not to answer?
       23                      MR. CULLEN: You can assume that.


   Designation:
   175:25    Q.     Slightly different question.    Did you have any



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   176: 1            discussions with Mr. Orr regarding the probability of
        2            success on legal arguments the City could raise
        3            against the Swap counterparties?
        4      A.    Yes.
        5      Q.    When did those discussions take place?
        6      A.    During May.
        7      Q.    Can you tell me about those discussions with Mr. Orr?
        8                       MR. CULLEN: Direct him not to answer.


   Designation:
   177: 5                       MS. ENGLISH: And if I ask him to tell me
        6            about those conversations, will you direct him not to
        7            answer?
        8                       MR. CULLEN: I will indeed.


   Designation:
   177:10    Q.      Did you discuss with anyone else the probability of
       11            success that the City might have had on legal
       12            arguments against the Swap counterparties?
       13    A.      No.
       14    Q.      Were there any written documents or memos that
       15            evaluated the City's legal arguments against the Swap
       16            counterparties?
       20    A.      No.
       21    Q.      Are you aware of any written analyses that were done
       22            about the legal arguments the City might assert?
       23    A.      No.


   Designation:
   178: 6    Q.      Going into the start of the negotiations with the Swap
        7            counterparties on June 4th, did you assume that the
        8            Swap counterparties' liens were valid?
        9    A.      I did.


   Designation:
   179:12    Q.      Can you tell me what the other alternatives were that
       13            you considered?
       14    A.      Well, we considered finding another lender to fund the
       15            termination of the Swaps. This is back in May when we
       16            knew the financial condition of the City was dire. We
       17            did not think we could attract a lender to come in to
       18            take out the Swap termination payment at a hundred
       19            cents or even at a discount under the tight time frame
       20            that we had to work with nor did we think we could do
       21            that at a rate of interest that could ever be
       22            acceptable to the City.
       23    Q.      Let me stop you right there and ask did you try?
       24    A.      No.




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   Designation:
   180:13    Q.   Prior to June 4th, did you submit a request to the
       14         state for aid on behalf of the City?
       15    A.   I'm not going to answer that question.
       16    Q.   You will not answer even whether the City made a
       17         request for state aid prior to June 4th?
       18    A.   It's commercially sensitive information. I
       19         respectfully cannot answer that question.
       20    Q.   Was there a request for state aid that was rejected
       21         prior to June 4th?
       22    A.   I'm not going to answer that question.
       23    Q.   On what basis won't you answer whether there was one
       24         that was rejected?
       25    A.   Commercially sensitive information.
   181: 1    Q.   How is it commercially sensitive? If there was a
        2         state aid request that was rejected, how is that
        3         sensitive now?
        4    A.   You're asking me to speculate.
        5    Q.   I'm asking you why you're not answering.
        6    A.   It's commercially sensitive information.
        7    Q.   Tell me why it's commercially sensitive in your view.
        8    A.   It would have an impact on our ability to prosecute a
        9         successful DIP financing process for the City at this
       10         point.
       11    Q.   It would jeopardize your DIP financing if the public
       12         knew that a state aid request had been rejected prior
       13         to June 4th?
       14    A.   You're saying that. I didn't say that.
       15    Q.   I'm trying to understand why you won't give us the
       16         information.
       17    A.   It's commercially sensitive.
       18    Q.   How is it commercially sensitive?


   Designation:
   181:20    A.   I'm not going to answer it.


   Designation:
   181:22    Q.   Just for kicks let's do the same line of questioning
       23         for federal aid, okay? Was there a request made by
       24         the City for federal aid prior to June 4th?
       25    A.   I decline to answer that question.
   182: 1    Q.   On what grounds do you decline to answer?
        2    A.   It's commercially sensitive information.
        3    Q.   And why do you feel it's commercially sensitive?
        4    A.   Because it would have an impact on our DIP financing
        5         process.
        6    Q.   Was there a request for federal aid that was rejected
        7         prior to June 4th?
        8    A.   I decline to answer that question.
        9    Q.   And do you decline on the exact same grounds you've
       10         just given me?
       11    A.   Yes.




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   Designation:
   183:25    Q.   Did you have any substantive conversations with the
   184: 1         Swap counterparties about whether or not their liens
        2         were valid other than, you know, we threaten to
        3         litigate, we threaten to defend, did you actually get
        4         into a discussion about the validity of their liens
        5         with them?
        6    A.   No, I had no other cards to play so I just kept
        7         reminding them we would be aggressive.


   Designation:
   184:12    Q.   What other unencumbered revenue streams or assets does
       13         the City have?
       14    A.   Well, we have income tax revenues, we have property
       15         tax revenues. I'm speaking now in the Chapter 9
       16         context. The state revenues are pledged to three
       17         series of bonds that were issued historically by the
       18         City. So, there really is no other source of revenue
       19         that's available to the City that could be pledged or
       20         used aside from these.
       21                    There are, of course, a list of noncore
       22         assets we identified on June 14th that we are
       23         evaluating for potential value but we have reached no
       24         conclusion yet as to how much is available there.
       25    Q.   I just want to make sure. You were talking about
   185: 1         state shared revenues are pledged, right, did I get
        2         that correct?
        3    A.   They are securing three different series of bonds that
        4         have a pledge of those revenues and that's already
        5         been used.
        6    Q.   So, the remaining unencumbered City assets or revenues
        7         are the noncore assets that were listed?
        8    A.   Right.
        9    Q.   Income tax and property tax?
       10    A.   Correct.
       11    Q.   Is that all?
       12    A.   Well, the gaming revenues if we can eliminate the
       13         collateral agreement.
       14    Q.   Is there any reason that the noncore assets, income
       15         tax or property tax could not be pledged as collateral
       16         to secure DIP financing?
       17    A.   They could be.


   Designation:
   185:18    Q.   You testified earlier that if the forbearance
       19         agreement was not approved, it would have dire
       20         consequences for the City, is that correct?
       21    A.   Yes.
       22    Q.   Does the City have a backup plan if the forbearance
       23         agreement is not approved?
       24    A.   Well, we're developing one now. We are proceeding on
       25         the assumption the court will grant relief on this
   186: 1         transaction and let us proceed with it and if they
        2         tell us they won't, we'll have a backup plan.


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        3      Q.   What is the backup plan you're currently considering?
        4      A.   It's being developed right now. It would be not the
        5           plan currently proposed.


   Designation:
   190:17    Q.     Okay. Do you understand that under certain
       18           circumstances the agreement prohibits the City from
       19           taking action that's inconsistent with the position of
       20           the counterparties in litigation, for instance?
       21    A.     That's my understanding.


   Designation:
   201:18    Q.     Is it your understanding that after March 1st the City
       19           has another opportunity to challenge anything related
       20           to this agreement?
       21    A.     It's not my understanding.
       22    Q.     Okay.
       23    A.     I don't know.
       24    Q.     Okay. Do you recognize there's a possibility then
       25           that the City could be stuck with paying a very large
   202: 1           figure after the Chapter 9 plan and have no ability to
        2           challenge it if -- at some certain stage regardless of
        3           the validity of those liens?
        4    A.     That's a possibility.
        5    Q.     Okay.




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